   Case 2:20-cv-09582-JFW-E Document 434 Filed 08/25/22 Page 1 of 1 Page ID #:33615


                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL


Case No.      CV 20-9582-JFW(Ex)                                              Date: August 25, 2022
Title:        Vanessa Bryant -v- County of Los Angeles, et al.

Case No.      CV 20-10844 JFW(Ex)
Title:        Christopher L. Chester -v- County of Los Angeles, et al.

PRESENT: HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                         Miranda Algorri
              Courtroom Deputy                       Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                    ATTORNEYS PRESENT FOR DEFENDANTS:
Luis Li                                              Jennifer Mira Hashmall
Craig Armand Lavoi                                   Jason H. Tokoro

Jerome M. Jackson                                    Jennifer Mira Hashmall
                                                     Jason H. Tokoro


PROCEEDINGS: STATUS CONFERENCE

Case called, and counsel make their appearance.

Status conference held.

Court and counsel discuss the juror note filed under seal August 24, 2022.

Further Status Conference is set for August 26, 2022 at 9:00 a.m.

The Court Reporter’s transcript is ordered sealed.




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                                            Page 1 of 1                                      0/15
